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Alexander Emric Jones                                                             Case No. 22-33553
                                Part 1 - Statement of Cash Receipts and Disbursements
                                                           April 1-30, 2024

                                 PNC DIP      Prosperity Bank Security Bank   Chase      B of A      Chase      B of A
            Bank Account                                                                                                    Total
                                  #5233            #9175          #8548       #7518      #2913       #3520      #6078

Opening Balance                  1,441,955               853         1,053      1,122         505       1,207        876    1,447,571

    Cash Receipts                  125,991                                                                                   125,991

    Cash Disbursements            (643,996)                                       (25)        (26)                   (25)   (644,072)

    Net Cash Flow                  923,951               853         1,053      1,097         479       1,207        851     929,490

    Transfer In                                                                                                                     0
    Transfers Out                                                                                                                   0

Ending Bank Balance                923,951               853         1,053      1,097         479       1,207        851     929,490
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                             Alexander E Jones
                               Balance Sheet
                                  As of April 30, 2024

                                                             Total
   ASSETS
    Current Assets
     Bank Accounts
       Bank of America #2913                                            479
       Bank of America #6078                                            851
       Chase #3520                                                     1,207
       Chase #7518                                                     1,097
       PNC #5233 DIP                                                 923,951
       Prosperity Bank #9175                                            853
       Security Bank #8548                                             1,053
     Total Bank Accounts                                 $           929,490
     Accounts Receivable
       Accounts Receivable                                            43,859
     Total Accounts Receivable                           $            43,859
     Other Current Assets
       Bitcoin Account                                                 1,882
       Cash on Hand                                                    1,000
       GiveSendGo-Legal                                                2,154
       Inventory Platinum                                            224,772
       Prepayment -Legal Account                                     112,000
       Receivable from Family                                          2,090
       Rental Property Escrow                                          9,022
     Total Other Current Assets                          $           352,919
    Total Current Assets                                 $      1,326,268
    Fixed Assets
     Homestead                                                  2,612,800
     Lakehouse                                                  1,750,000
     Ranch Property                                             2,189,220
     Rental Property                                                 505,000
     Vehicles and Marine Assets
       Dodge Charger                                                  70,618
       Ford Expedition                                                21,463
       Marine Assets                                                 114,300
     Total Vehicles and Marine Assets                    $           206,381
    Total Fixed Assets                                   $      7,263,401
    Other Assets
     Interests In Trust                                              131,528
     Ownership Interests in Non Public Entities                       17,302
     Personal Property                                               180,821
     Receivable from Descendants Trust                                33,217
     Receivable from Mrs. Jones                                        8,363
    Total Other Assets                                   $           371,231
   TOTAL ASSETS                                          $      8,960,901




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                              Alexander E Jones
                                Balance Sheet
                                   As of April 30, 2024

                                                                         Total
   LIABILITIES AND EQUITY
    Liabilities
     Current Liabilities
       Accounts Payable
         Accounts Payable                                                         39,871
       Total Accounts Payable                                     $               39,871
       Other Current Liabilities
         Accrued Pre Nuptial Obligation                                           63,165
         Accrued Professional Fees                                               115,124
         Accrued Property Tax Payable                                             27,640
         Payroll Tax Payable-Child Care                                             750
         Payroll Tax Withheld-Child Care                                           2,297
       Total Other Current Liabilities                             $             208,975
     Total Current Liabilities                                     $             248,846
     Long-Term Liabilities
       Rental Property Mortgage                                                   26,266
     Total Long-Term Liabilities                                  $               26,266
    Total Liabilities                                              $             275,112
    Equity
     Opening Balance Equity                                                   13,039,233
     Owner's Investment                                                               0
       OtherDeposits/Transfers                                                   171,668
     Total Owner's Investment                                      $             171,668
     Owner's Pay & Personal Expenses
       Gifts                                                                      63,919
     Total Owner's Pay & Personal Expenses                        $               63,919
     Retained Earnings                                                        -2,296,679
     Net Income                                                               -2,292,353
    Total Equity                                                   $           8,685,788
   TOTAL LIABILITIES AND EQUITY                                    $           8,960,900




                  Wednesday, May 15, 2024 02:31:16 PM GMT-7 - Accrual Basis




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                           Alexander E Jones
                             Profit and Loss
                                      April 2024

                                                       Total
   Income
    Advertising Income                                          18,166
    Book Sales Income                                            4,702
    FreeSpeech Payroll                                          50,000
    Interest Income                                                11
    Rental Income                                                1,200
    Sales of Product Income                                     84,481
      Cost of Goods Sold                                       -14,823
      Selling Expense                                          -33,275
    Total Sales of Product Income                  $            36,383
    Subscription Sales                                          25,579
      Subscription Fee Owed                                     -7,674
    Total Subscription Sales                       $            17,905
   Total Income                                    $           128,367
   Payroll Deductions
    Child Support- Garnished                                     1,846
    Medical Insurance Premiums                                   1,161
    Payroll Taxes withheld                                      16,517
   Total Payroll Deductions                        $            19,524
   Gross Profit                                    $           108,843
   Expenses
    Living Expenses
      Auto/Trucks/Watercraft
        Auto/Boat Maintenance                                    2,293
        Auto/Truck/Boat Insurance                                1,209
        Boat Storage                                              860
        Fuel                                                     1,099
      Total Auto/Trucks/Watercraft                 $             5,462
      Family
        Child Care                                              10,795
        Groceries                                                4,235
        Homestead
          HOA                                                     175
          Maintenance                                            2,777
            Housekeeping                                         3,600
            Misc. Supplies and Services                          1,402
          Total Maintenance                        $             7,778
          Phone/Internet                                          437
          Property Insurance                                     1,006
          Property Tax                                           4,800
          Utilities                                              2,357
        Total Homestead                            $            16,553
        Household Purchases                                      3,840
        Meals & Entertainment                                    3,410
          Apple/Netflix/Hulu charges                              440
        Total Meals & Entertainment                $             3,850
        Medical                                                  1,806
        Other                                                     240
        Personal Expenses                                        5,023
        PreNup Obligation                                       15,791
        School and Kid's Activities
          Activities                                             1,846
        Total School and Kid's Activities          $             1,846
      Total Family                                 $            63,980
    Total Living Expenses                          $            69,442

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    Other Expenses
      Bank Charges & Fees                             79
      Business Expenses                             3,759
      Interest Paid                                  142
      Legal & Professional Services                77,451
      Loss/(Gain) on Sale of Assets                  -320
      Real Estate
        Lakehouse
         Lakehouse Insurance                         352
         Lakehouse Internet                          376
         Lakehouse Maintenance                      1,236
         Lakehouse Property Tax                     1,280
         Lakehouse Utilities                          45
        Total Lakehouse                 $           3,289
        Ranch property                                27
        Rental Property Tax                          830
      Total Real Estate                 $           4,146
      Rental Storage Units                          2,028
    Total Other Expenses                $          87,285
   Total Expenses                       $         156,727
   Net Operating Income                 -$         47,884
   Other Income
    Donations                                       3,928
   Total Other Income                   $           3,928
   Other Expenses
    Commission Paid on Sale of Assets               1,200
   Total Other Expenses                 $           1,200
   Net Other Income                     $           2,728
   Net Income                           -$         45,156




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Alexander Emric Jones                              Case No. 22-33553
               Schedule of Payments to Professionals
                                April 1-30, 2024
          Firm Name                          Role                 Amount

     BlackBriar Advisors        Financial Advisors                     97,382
     Crowe Dunlevy, P.C.        Co-Counsel to Debtor                  386,627
        Jordan & Ortiz          Co-Counsel to Debtor                   15,702
             Teneo              Financial Advisor for Creditors        44,890
Martin Disiere Jefferson Wisdom Special Counsel to Debtor
       Reynal Law Firm          Special Counsel to Debtor
       Rachel Kennerly          Tax Accountant                          5,012
                                                                      549,613
                  Schedule of Payments to Insiders
                                April 1-30, 2024
             Payee                                                Amount


No Payments during the Period
